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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,               )            Case No. 8:90CR127
                                        )
                   Plaintiff,           )
                                        )
      v.                                )                    ORDER
                                        )
LAMONT KRESS,                           )
                                        )
                   Defendant.           )


      Before the court is defendant's Motion for Termination of Supervised Release (Filing
No. 1789). The court held a hearing on the motion on August, 31, 2006. The court
determined the motion should be granted. Accordingly,
      IT IS ORDERED:
      1. Defendant’s Motion for Termination of Supervised Release (Filing No. 1789) is
granted; and
      2. The defendant, Lamont Kress, is hereby discharged from supervised release.


      DATED this 31st day of August, 2006.

                                        BY THE COURT:



                                        s/ Joseph F. Bataillon
                                        JOSEPH F. BATAILLON
                                        UNITED STATES DISTRICT JUDGE
